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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

Daisy Avalos,                       )                 Civil Action No. 5:20-cv-04031-JD
                                    )
                     Plaintiff,     )
       v.                           )
                                    )
KILOLO KIJAKAZI,1                   )
Acting Commissioner of              )
Social Security Administration,     )
                                    )
                     Defendant.     )
____________________________________)

                                             ORDER

       The above referenced Social Security case is before this Court upon Plaintiff’s motion for

attorney’s fees in the amount of $3,471.21 and expenses in the amount of $21.15. Plaintiff filed

this petition on September 22, 2021. Defendant filed a response on October 6, 2021, stating he

does not object to the requested amount of attorney fees and expenses under the Equal Access to

Justice Act (“EAJA”).

       IT IS, THEREFORE, ORDERED that the motion for attorney’s fees is GRANTED in

the amount of $3,471.21 in attorney’s fees and expenses in the amount of $21.15 under the EAJA.

       IT IS SO ORDERED.

                                                              _____________________________
                                                              Joseph Dawson, III
                                                              United States District Judge
Greenville, South Carolina
October 6, 2021

1
  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant
to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted,
therefore, for Andrew Saul as the defendant in this suit. No further action need be taken to continue
this suit by reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. §
405(g).
